                              SALE AGREEMENT


       THIS SALE AGREEMENT (“Sale Agreement”) is entered into this 23rd
day of May, 2025, by and between Douglas S. Ellmann, as Chapter 7 trustee for
the Bankruptcy Estate of Brandon L. Heitmann (the “Trustee”), and Brandon L.
Heitmann (“Debtor”) and Amanda Heitmann (“Purchaser”). The Trustee, the
Debtor and the Purchaser are sometimes individually referred to as a “party” or
collectively as the “parties.

                                  RECITALS

       A.   On February 29, 2024, Debtor filed a voluntary chapter 13 petition
with the United States Bankruptcy Court for the Eastern District of Michigan (the
“Bankruptcy Court”), commencing Case No. 24-41956-mar (the “Bankruptcy
Case”).

        B.    The Bankruptcy Case was converted to chapter 7 on February 25,
2025.

       C.     The Trustee was appointed as trustee in the chapter 7 Bankruptcy
Case and has continuously served as trustee in the chapter 7 Bankruptcy Case. The
Trustee is charged with the duty to administer assets of the chapter 7 bankruptcy
estate (the “Bankruptcy Estate”) pursuant to 11 U.S.C. § 704.

      D.     According to the Debtor’s bankruptcy schedules, property of the
bankruptcy estate includes the following items listed by the Debtor in Schedule
A/B filed on March 15, 2024:

               2019 GMC 2500; 2020 GMC 4500 dump truck; 20-foot enclosed
        Look trailer; 1995 Econoline van; Toro Dingo 1000; 1995 box truck; various
        household goods and furnishings; various equipment for sports and hobbies;
        two firearms; clothes; PS4 and video games; personal computer; refrigerator
        and contents; machinery, tools and equipment including a shipping container
        and equipment trailer (the “Assets”).

       E.     The Debtor has claimed exemptions in a number of items of the
Assets. He has agreed to forego payment by the Trustee of any exemption in the
Assets if the sale of the Assets to Purchaser is consummated. In effect, Purchaser
will purchase from the Trustee the non-exempt value of the Assets. The Trustee

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has agreed to sell to the Purchaser the non-exempt value of the Assets.

       NOW, THEREFORE, in consideration of the covenants and undertakings
contained herein, and for other good and valuable consideration, the receipt and
sufficiency of which is hereby acknowledged, and the parties agree as follows:

      1.     Bankruptcy Court Approval. The Trustee agrees to promptly file a

motion with the Bankruptcy Court seeking approval of this Sale Agreement. The

Trustee does not intend to advertise the sale, but he does intend to give notice to

creditors of the motion, and any person is free to propose to purchase the Assets.

The Trustee is free to entertain and accept a higher or better offer. If the Trustee

becomes aware of the existence of a potential offer, the Trustee intends to establish

a bidding procedure, with notice to Debtor. Purchaser agrees that notice to the

Debtor will constitute notice to her. Purchaser is not obligated to make a higher or

better offer, and in the event of a sale to a person other than the Debtor or

Purchaser, the Debtor will be entitled to payment of his exemption(s). Therefore,

any offer from another person must take into account the Debtor’s exemption(s).

The Debtor will not be entitled to payment of his exemption with respect to those

items of the Assets for which he or Purchaser is the purchaser, as his exemption

has been taken into consideration in determining the purchase price.

      2      Transfer of Assets; Effective Date. Trustee shall sell, transfer,

assign and deliver to Purchaser, and Purchaser shall purchase from the Trustee, the

estate’s right to, and interest in, the Assets. Following entry of an order of the


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Bankruptcy Court, the Trustee will deliver to Purchaser a bill of sale in the form

attached as Exhibit A to this Sale Agreement.

      3.     Payment. Purchaser shall pay to the Trustee the sum of Twenty-two

Thousand Five Hundred Dollars ($22,500.00) (the “Purchase Funds”) for the

Assets. The Trustee will hold the Purchase Funds pending approval by the

Bankruptcy Court of this Sale Agreement. If this Sale Agreement is not approved

by the Bankruptcy Court within sixty (60) days or if approval is declined, this Sale

Agreement will be void, and the Trustee will return the Purchase Funds and any

interest earned thereon, unless the parties otherwise agree.

      4.     No Representations or Warranties. The Assets are sold “as is” and

“where is”, subject to any lien or other interest that may exist, including those

listed in the schedules, such as a security interest in favor of GMC Financial with

respect to the 2019 GMC 2500 truck. The Debtor is presumed to be in possession

of the Assets. Trustee is not in possession of the Assets and will not be obligated

to deliver physical possession of any of them. The Trustee makes no

representation, and gives no warranty whatsoever, express or implied, as to the

Assets or any of them. The Debtor waives his right to the payment by the Trustee

or the estate of any exemption in any of the Assets, provided that the sale is to

Purchaser or to him.

      5.     Full Agreement. This Sale Agreement constitutes the sole expression


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of the agreement between the Parties with respect to the subject matter hereof.

      6.     Counterparts. This Sale Agreement may be executed in one or more

counterparts, all of which shall be considered one and the same document, and

shall be effective (but for approval by the Bankruptcy Court) when one or more

counterparts have been signed by each of the parties and delivered to the other

parties hereto. Signatures may be transmitted by email or facsimile and shall be

deemed to be original signatures for all purposes.

      7.     Governing Law. All questions concerning the construction, validity,

and interpretation of this Sale Agreement shall be governed by the laws of the

State of Michigan. The Bankruptcy Court shall have exclusive jurisdiction over

any disputes related to this Sale Agreement.

      8.     Waiver and Amendments. The provisions of this Sale Agreement

may be amended only by the written agreement of the parties hereto.

      9.     Voluntary and Informed Execution. The parties acknowledge and

agree that they have each fully read, completely understand, and voluntarily enter

into and execute this Sale Agreement and acknowledge that they have been

represented and advised by counsel of their choosing or had ample opportunity to

be represented by counsel during the negotiations that resulted in the drafting and

execution of this Sale Agreement.

      1IN WITNESS WHEREOF, the parties hereto have affixed their


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signatures on the day and year first above written.


Dated: May ____, 2025                  _______________________
                                       Brandon L. Heitmann, Debtor


Dated: May ____, 2025                  _______________________
                                       Amanda Heitmann, Purchaser


Dated: May 23, 2025                    _______________________
                                       Douglas S. Ellmann, Trustee




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                                     Exhibit A

                                  BILL OF SALE

      KNOW ALL PERSONS BY THESE PRESENTS, that the Seller, Douglas
S. Ellmann, as trustee in bankruptcy for Brandon L. Heitmann, case no. 24-41956-
mar, United States Bankruptcy Court, Eastern District of Michigan, Southern
Division, pursuant to the Sale Agreement approved by the “Order Approving Sale
of Assets”, entered on _______________, 2025 (docket # ___), does hereby,
assign, transfer and set over to Amanda Heitmann (“Purchaser”) the interest of the
bankruptcy estate of Debtor in the following items:

     2019 GMC 2500; 2020 GMC 4500 dump truck; 20-foot enclosed Look
     trailer; 1995 Econoline van; Toro Dingo 1000; 1995 box truck; various
     household goods and furnishings; various equipment for sports and
     hobbies; two firearms; clothes; PS4 and video games; personal
     computer; refrigerator and contents; machinery, tools and equipment
     including a shipping container and equipment trailer (the “Assets”)

       The Assets are transferred “as is” and “where is” and without any
representation or warranty of any kind, including as to its condition or fitness for
any particular purpose. Seller does not warrant title to the Assets, and Debtor
acknowledges that they may be subject to one or more liens or other interests. This
Bill of Sale, and the transfer of the Assets evidenced hereby, is made for and in
consideration of the sum of twenty-two thousand five hundred dollars ($22,500.00)
paid by Debtor for the Assets, the receipt and adequacy of which is hereby
acknowledged by Seller.


       IN WITNESS WHEREOF, Seller has made and delivered this Bill of Sale
this __st day of _______, 2025.

                                      ____________________________________
                                      Douglas S. Ellmann, as trustee in
                                      bankruptcy for Brandon L. Heitmann, case
                                      no. 24-41956-mar, United States Bankruptcy
                                      Court, Eastern District of Michigan,
                                      Southern Division, pursuant to the order
                                      identified above.


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